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                                                                           Jacob Meckler <jacob.meckler@aflegal.org>



America First Legal Foundation v. United States Department of State, 23-419
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